       Case
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 6                          UNITED STATES DISTRICT COURT
 7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,         )                 D.C. No. CR 05-671-WHA
                                       )                 (San Francisco)
10                    Plaintiff,       )
                                       )
11         vs.                         )
                                       )                 [PROPOSED] ORDER
12   JOSE FRANCISCO LEYVA,             )
                                       )
13                    Defendant.       )
     _________________________________ )                 Judge: Hon. William H. Alsup
14
15          For Good Cause Shown, IT IS HEREBY ORDERED that:
16          1. The trial confirmation hearing set for April 4, 2006 shall be vacated;
17          2. Defendant’s written notice of trial confirmation is accepted in lieu of a
18   personal appearance to confirm for trial;
19          3. Trial is to commence on Monday, May 15, 2006 at 7:30 a.m. and the
20   pretrial hearing shall be held on Monday, May 8, 2006 at 2:00 pm. as previously
21   ordered; and
22          4. Defense counsel may be absent from trial on the morning of May 16, 2006
23   to attend a hearing at the Court of Appeals in another matter and the schedule shall
24   be adjusted accordingly.                                     S DISTRICT
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25   IT IS SO ORDERED.
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                                                    UNIT




26   DATED: 4/3/06                               ______________________________
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                                                 WILLIAM H. ALSUP
27                                               United States DistrictAlsJudge
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